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                                                                                                                                                                     UNITED	  STATES	  DISTRICT	  COURT	  
                                                                                                                                                                     FOR	  THE	  DISTRICT	  OF	  COLUMBIA	  
	  
	  
	  
       JAMES	  H.	  ROANE,	  JR.,	  et	  al.	                                                                                                                                                                                                                                                         )	  
                                                                                                                                                                                                                                                                                                            )	  
                                                                                                                 Plaintiffs,	                                                                                                                                                                              )	  
                                                                                                                                                                                                                                                                                                            )	  
                                                                                                                                                                  vs.	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  )	  	  	  Civil	  Action	  No.	  05-­‐2337	  
                                                                                                                                                                                                                                                                                               	  	  	   )	  
       ERIC	  H.	  HOLDER	  Jr.,	  et	  al.	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   )	  
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                                                                                                                      Defendants	                                                                                                                                                                          )	  
	  
	  
	  
                                                                                                                                                                  PARTIES’	  JOINT	  STATUS	  REPORT	  

	  
	                                   The	   Parties	   respectfully	   submit	   this	   Joint	   Status	   Report	   pursuant	   to	   the	   Court’s	   Order	   of	  

April	  8,	  2016.	  	  There	  has	  been	  no	  change	  in	  the	  status	  of	  this	  matter	  since	  the	  parties	  filed	  their	  

Joint	   Status	   Report	   on	   November	   1,	   2018	   (Docket	   No.	   378).	   	   The	   parties	   do	   not	   seek	   any	   action	  

by	  the	  Court	  at	  this	  time.	  

Dated:	  February	  1,	  2019	  

For	  the	  Plaintiffs:	        	            	    	                                                                                                                                                                  	                                  For	  the	  Defendants:	  
	  
	  
_______/s/__________	  
Paul	  F.	  Enzinna	  (D.C.	  Bar	  No.	  421819)	                                                                                                                                                                  	                                  CHANNING	  D.	  PHILLIPS	                 	  
Ellerman	  Enzinna	  PLLC	                    	    	                                                                                                                                                                  	                                  D.C.	  BAR	  #	  415793	  	  
1050	  30th	  Street,	  NW	   	             	    	                                                                                                                                                                  	                                  United	  States	  Attorney	  	  	  
Washington,	  DC	  20007	                     	    	                                                                                                                                                                  	                                  for	  the	  District	  of	  Columbia	  
202.753.5553	  
penzinna@ellermanenzinna.com	   	                                                                                                                                                                                        	                                  DANIEL	  F.	  VAN	  HORN	  
	            	      	           	            	    	                                                                                                                                                                  	                                  D.C.	  BAR	  #	  924092	  
Counsel	  for	  Plaintiff	  James	  H.	  Roane,	  Jr.	                                                                                                                                                              	                                  Civil	  Chief	  
	                                               	  
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	           	             	     	        	      	           	         By:	  _______/s/__________	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
_______/s/__________	                       	      	           	         BENTON	  G.	  PETERSON,	  BAR	  #	  1029849	  
BRANDON	  D.	  ALMOND	                    	      	           	         	         Assistant	  United	  States	  Attorney	  
(D.C.	  Bar	  No.	  	  982170)	         	      	           	  	     U.S.	  Attorney’s	  Office	  
Troutman	  Sanders,	  LLP	                	      	           	         555	  4th	  Street,	  N.W.	  -­‐	  Civil	  Division	  
401	  9th	  Street,	  NW,	  Suite	  1000	      	           	         Washington,	  D.C.	  20530	  
Washington,	  DC	  	  20004-­‐2134	  	          	           	         (202)	  252-­‐2534	  
(202)	  274-­‐2864	              	        	      	           	         benton.peterson@usdoj.gov	  
Brandon.almond@troutman.com	   	                                	         	  
	           	             	     	        	      	           	         Counsel	  for	  Defendants	  
	  
STEPHEN	  A.	  NORTHUP	  
(D.C.	  Bar.	  No.	  54587)	  
Troutman	  Sanders	  LLP	  
1001	  Haxall	  Point,	  P.O.	  Box	  1122	  
Richmond,	  VA	  	  23218-­‐1122	  
(804)	  697-­‐1240	  
steve.northup@troutmansanders.com	  	  
	  
	  
	  
FREDERICK	  GERSON	  
FG	  Law	  
536	  Granite	  Avenue	  
Richmond,	  VA	  23226	  
804.428.1121	  
fred@fgattorney.com	  
	  
Counsel	  for	  Plaintiff	  Richard	  Tipton	  
	  
_______/s/__________	  
DONALD	  P.	  SALZMAN	  (DC	  Bar	  No.	  479775)	         	         	  
Skadden	  Arps	  Slate	  Meagher	  &	  Flom	  LLP	  	     	         	  
1440	  New	  York	  Avenue,	  NW	   	          	           	         	  
Washington,	  DC	  20005	                 	      	           	         	  
Telephone:	  (202)	  371-­‐7983	   	             	           	         	  
E-­‐mail:	  Salzman@skadden.com	  
	  
Counsel	  for	  Plaintiff	  Corey	  Johnson	  
	  
	                                           	  
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_______/s/__________	  
JOSHUA	  C.	  TOLL	  
(D.C.	  Bar	  No.	  463073)	  
King	  &	  Spalding	  LLP	  
1700	  Pennsylvania	  Avenue,	  NW	  
Washington,	  DC	  	  20006	  
(202)	  737-­‐0500	  
	  	  
MARGARET	  O’DONNELL	  
P.O.	  Box	  4815	  
Frankfort,	  KY	  	  40604	  
(502)	  320-­‐1837	  
	  	  
Counsel	  for	  Intervenor-­‐Plaintiff	  Anthony	  Battle	  
	  
_______/s/__________	  
WILLIAM	  E.	  LAWLER,	  III	  	  
D.C.	  Bar	  No.	  398951	  
VINSON	  &	  ELKINS	  L.L.P.	  
2200	  Pennsylvania	  Avenue,	  N.W.	  
Suite	  500	  West	  
Washington,	  D.C.	  20037-­‐1701	  
(202)	  639-­‐6500	  
wlawler@velaw.com	  
Counsel	  for	  Intervenor-­‐Plaintiff	  Bruce	  Webster	  
	  
_______/s/__________	  
Matthew	  J.	  Herrington	  
Steptoe	  &	  Johnson,	  LLP	  
1300	  Connecticut	  Avenue	  NW	  
Washington,	  DC	  20036	  
202.429.8164	  
mherrington@steptoe.com	  
	  
Counsel	  for	  Intervenor-­‐Plaintiff	  Orlando	  Hall	  
	  
	                                       	  
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_______/s/__________	  
GARY	  E.	  PROCTOR	  	  
GARY	  E.	  PROCTOR,	  LLC	  	  
8	  E.	  Mulberry	  Street	  	  
Baltimore,	  MD	  21202	  	  
(410)	  444-­‐1500	  	  
Fax:	  (866)	  230-­‐4455	  	  
Email:	  garyeproctor@gmail.com	  	  
	  
ROBERT	  L.	  MCGLASSON	  	  
MCGLASSON	  &	  ASSOCIATES,	  PC	  	  
1024	  Clairemont	  Avenue	  	  
Decatur,	  GA	  30030	  	  
(404)	  314-­‐7664	  	  
Fax:	  (404)	  879-­‐0005	  	  
Email:	  rlmcglasson@comcast.net	  	  
	  
SEAN	  D.	  O'BRIEN	  	  
PUBLIC	  INTEREST	  LITIGATION	  CLINIC	  	  
6155	  Oak	  	  
Suite	  C	  	  
Kansas	  City,	  MO	  64113	  	  
(816)	  363-­‐2795	  	  
Fax:	  (816)	  363-­‐2799	  	  
Email:	  dplc@dplclinic.com	  	  
	  
Counsel	  for	  Intervenor-­‐Plaintiff	  Jeffrey	  Paul	  
	  
	  
	  
	  
	  
	                                     	  
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                                                            CERTIFICATE	  OF	  SERVICE	  
                                                                                	  
           I	  certify	  that	  on	  February	  1,	  2019,	  a	  copy	  of	  the	  foregoing	  Parties’	  Joint	  Status	  Report	  was	  
filed	  using	  the	  CM/ECF	  system,	  which	  will	  then	  send	  notification	  of	  such	  filing	  to	  all	  counsel	  of	  
record.	  
                                                                                	  
                                                                          _______/s/___________	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
                                                                          Paul	  F.	  Enzinna	  
                                                                          Ellerman	  Enzinna,	  PLLC	  
                                                                          1050	  30th	  Street,	  NW	  
                                                                          Washington,	  DC	  20007	  
                                                                          202.753.5553	  
                                                                          penzinna@ellermanenzinna.com	  
                                                                          	  
                                                                          Counsel	  for	  Plaintiff	  James	  H.	  Roane,	  	  Jr.	  
